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                     EXHIBIT 4

              (Filed Under Seal)
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                                                                     Page 1


      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      - - - - - - - - - - - - - - - - - - - - x
      VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                                 Case No.:
            -against-                            15-cv-07433-RWS

      GHISLAINE MAXWELL,

                    Defendant.

      - - - - - - - - - - - - - - - - - - - - x

                              **CONFIDENTIAL**

                   Videotaped deposition of RINALDO
             RIZZO, taken pursuant to subpoena, was
             held at the law offices of Boies
             Schiller & Flexner, 333 Main Street,
             Armonk, New York, commencing June 10,
             2016, 10:06 a.m., on the above date,
             before Leslie Fagin, a Court Reporter
             and Notary Public in the State of New
             York.
                             - - -
                   MAGNA LEGAL SERVICES
              1200 Avenue of the Americas
               New York, New York 10026
                      (866) 624-6221
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                                                                     Page 52
 1                 R. Rizzo - Confidential
 2            Q.      Did you learn whether your
 3    perception was correct?
 4                    MR. PAGLIUCA:       Same objection.
 5            A.      It was younger.       Yes, I did.
 6            Q.      How old was this girl?
 7            A.      15 years old.
 8            Q.      What happens next when Ghislaine
 9    Maxwell and Jeffrey Epstein and a 15-year-old
10    girl walk into Eva Anderson's home?
11                    MR. PAGLIUCA:       Object to the form.
12            Foundation.
13            A.      They proceed into the dining room
14    area, which is across from the living room
15    area.        I go into the kitchen and I hear a
16    conversation start.           Very muffled, I could
17    not hear any particulars about the
18    conversation whatsoever.
19                    My wife and I are in the kitchen
20    preparing the evening meal.              Eva brings the
21    young girl into the kitchen.               In the kitchen,
22    there is an island with three barstools.                       Eva
23    instructs the young girl to sit to the
24    furthest barstool on the right.
25            Q.      Describe for me what the girl
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                                                                     Page 53
 1                 R. Rizzo - Confidential
 2    looked like, including her demeanor and
 3    anything else you remember about her when she
 4    walks into the kitchen.
 5            A.      Very attractive, beautiful young
 6    girl.        Makeup, very put together, casual
 7    dress.        But she seemed to be upset, maybe
 8    distraught, and she was shaking, and as she
 9    sat down, she sat down and sat in the stool
10    exactly the way the girls that I mentioned to
11    you sat at Jeffrey's house, with no
12    expression and with their head down.                  But we
13    could tell that she was very nervous.
14            Q.      What do you mean by distraught and
15    shaking, what do you mean by that?
16            A.      Shaking, I mean literally
17    quivering.
18            Q.      What happens next?
19            A.      We were, again, the absurdity,
20    never introduced.          Like you would walk into a
21    room and say this is -- so my wife and I are
22    in the kitchen and this young girl is sitting
23    there.        It was a very uncomfortable moment.
24    I look at my wife.          And so I want to ease the
25    moment, and so I introduced myself and I
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                                                                     Page 54
 1                R. Rizzo - Confidential
 2    introduced my wife, and she doesn't really
 3    respond.
 4                   And I asked her, are you okay?                  And
 5    she doesn't really respond.              Nothing verbal,
 6    no cues, her head is still down.                 I ask her
 7    if she would like some water, tissue,
 8    anything, and she basically doesn't respond.
 9           Q.      You ask her for a tissue?
10           A.      If she would like a tissue or some
11    water at the time.
12           Q.      Was she crying at the time?
13           A.      My perception, she was on the verge
14    of crying.       And I'm trying to loosen the
15    situation every way I know how, so the only
16    way I knew how, and I thought maybe this will
17    comfort her, I said oh, by the way, do you
18    work for Jeffrey.
19                   And she says that, I guess kind of
20    made her feel comfortable, because maybe it
21    was that comment or my persistence, and she
22    said yes.       So I said, what do you do?              And
23    she says I'm Jeffrey's executive assistant,
24    personal assistant.           Which, from looking at
25    her, just didn't seem to suit.
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                                                                     Page 55
 1                R. Rizzo - Confidential
 2                   And I blurted out:          You're his
 3    executive personal assistant?               What do you
 4    do?    And she says I was hired as his
 5    executive personal assistant.               I schedule his
 6    appointments.
 7                   And I'm shocked, and I blurt out:
 8    You seem quite young, how did you get a job?
 9    How old are you?          And she says to me, point
10    blank:       I'm 15 years old.
11                   And I said to her:          You're 15 years
12    old and you have a position like that?                   At
13    that point she just breaks down hysterically,
14    so I feel like I just said something wrong,
15    and she will not stop crying.               My wife and I
16    were at a loss for words, and I keep on
17    trying to console her, and nothing I was
18    saying, are you all right, do you need a
19    tissue, do you need water, consoles her.
20                   And then in a state of shock, she
21    just lets it rip, and what she told me was
22    just unbelievable.
23           Q.      What did she say?
24                   MR. PAGLIUCA:        Object to the form
25           and foundation.
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                                                                     Page 56
 1                 R. Rizzo - Confidential
 2            A.      She proceeds to tell my wife and I
 3    that, and this is not -- this is blurting
 4    out, not a conversation like I'm having a
 5    casual conversation.           That quickly, I was on
 6    an island, I was on the island and there was
 7    Ghislaine, there was Sarah, she said they
 8    asked me for sex, I said no.
 9                    And she is just rambling, and I'm
10    like what, and she said -- I asked her, I
11    said what?        And she says yes, I was on the
12    island, I don't know how I got from the
13    island to here.         Last afternoon or in the
14    afternoon I was on the island and now I'm
15    here.        And I said do you have a -- this is
16    not making any sense to me, and I said this
17    is nuts, do you have a passport, do you have
18    a phone?
19                    And she says no, and she says
20    Ghislaine took my passport.              And I said what,
21    and she says Sarah took her passport and her
22    phone and gave it to Ghislaine Maxwell, and
23    at that point she said that she was
24    threatened.        And I said threatened, she says
25    yes, I was threatened by Ghislaine not to
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                                                                     Page 57
 1                 R. Rizzo - Confidential
 2    discuss this.
 3                    And I'm just shocked.          So the
 4    conversation, and she is just rambling on and
 5    on, again, like I said, how she got here, she
 6    doesn't know how she got here.                Again, I
 7    asked her, did you contact your parents and
 8    she says no.
 9                    At that point, she says I'm not
10    supposed to talk about this.               I said, but I
11    said:        How did you get here.         I don't
12    understand.        We were totally lost for words.
13                    And she said that before she got
14    there, she was threatened again by Jeffrey
15    and Ghislaine not to talk about what I had
16    mentioned earlier, about -- again, the word
17    she used was sex.
18            Q.      And during this time that you're
19    saying she is rambling, is her demeanor
20    continues to be what you described it?
21            A.      Yes.
22            Q.      Was she in fear?
23            A.      Yes.
24                    MR. PAGLIUCA:       Object to the form
25            and foundation.
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                                                                 Page 141
 1
 2                            CERTIFICATE
 3
 4
 5                  I HEREBY CERTIFY that RINALDO
 6    RIZZO, was duly sworn by me and that the
 7    deposition is a true record of the testimony
 8    given by the witness.
 9
10                  _______________________________
11                  Leslie Fagin,
                    Registered Professional Reporter
12                  Dated:      June 10, 2016
13
14
15                  (The foregoing certification of
16    this transcript does not apply to any
17    reproduction of the same by any means, unless
18    under the direct control and/or supervision
19    of the certifying reporter.)
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